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United States Senate

WASHINGTON, DC 20510-0905

BILL NELSON
FLORIDA

September 11, 2018

Mr. Roberto De Oliveira Vasques
C/O Michael J. Liberatore

1000 Brickell Avenue, Suite 450
Miami, Florida 33131

Dear Mr. De Oliveira V asques:

In response to my inquiry on your behalf, I am enclosing a copy of the correspondence I
received from the U.S. Embassy in Rio de Janeiro.

I appreciate you giving me the opportunity to look into this issue.

Sincerely,

 

BN/Ihp
199454-2AG

Enclosure

United States Senator Bill Nelson, Landmark Two, 225 East Robinson Street, Suite 410, Orlando, Florida 32801
Telephone: (407) 872~7161 ¢ Toll-Free in Florida Only (888) 671-4091 © Fax: (407) 872-7165

http://billnelson.senate.gov
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Price, Lizy (Bill Nelson)

From: Congressional Unit Rio

Sent: Tuesday, September 11, 2018 1:53 PM

To: Price, Lizy (Bill Nelson)

Subject: Re: Congressional Inquiry: Roberto De Oliveira Vasques

 

United States Consulate General
Rio de Janeiro

September 11, 2018

Dear Senator Nelson:

Thank you for your correspondence of September 5, 2018, regarding the immigrant visa
application of Roberto de O. Vasques.

At this time, this case is undergoing necessary administrative processing which we must
conclude before we can adjudicate his visa.

Because each case is different we cannot estimate how long this processing will take. We
realize extended waiting periods are frustrating, and we are sensitive to the desire of the
applicants and the U.S. citizen petitioner to complete the immigration process in a minimum
amount of time. As you know, however, the U.S. Consulate General in Rio de Janeiro, like alll
U.S. Embassies and Consulates, must adjudicate visas in accordance with the provisions of
U.S. immigration law. In some cases, this involves administrative processing.

We want to assure you and the beneficiary that we will complete the processing of this case
as soon as possible, in accordance with U.S. laws and regulations.

| hope this information is useful fo you and your constituent.

Sincerely,

Rossow SM Ree ~

Rebecca A. Pasini
Consular Section Chief

“Please note that the information regarding this visa case is protected from disclosure under Section 222(f) of the INA, 8 U.S.C.
1202(f), and in accordance with that law, may only be used for the “formulation, amendment, administration, or enforcement of the
immigration, nationality, or other laws of the United States and is consistent with INA Section 222(f), 8 U.S.C. 1202(f)”.

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